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                                  5                         IN THE UNITED STATES DISTRICT COURT
                                  6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  7
                                  8     SUSAN SMITH,                                 Case No. 20-cv-05451-CRB
                                  9                  Plaintiff,
                                                                                     JUDGMENT
                                  10           v.
                                  11    WALGREENS BOOTS ALLIANCE,
                                        INC., et al.,
Northern District of California




                                  12
 United States District Court




                                                     Defendants.
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                                             Having granted Defendant Walgreens’ motion to dismiss with prejudice, the Court
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                                       hereby enters judgment for the Defendant and against Plaintiff Susan Smith.
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                                             IT IS SO ORDERED.
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                                             Dated: September 9, 2022
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                                  20                                                  CHARLES R. BREYER
                                                                                      United States District Judge
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